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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                                Criminal N o . 09-cr-139-01-JD

Luigi Lobrutto


                                    O R D E R


      The assented to motion to reschedule jury trial (document n o .

14) filed by defendant Luigi Lobrutto is granted in part; trial is

rescheduled to the two-week period beginning January 2 0 , 2010. As

this motion was also assented to by counsel for co-defendant

Christina Lobrutto, her trial is also continued.

      Defendant Luigi Lobrutto shall file a waiver of speedy trial

rights within 10 days.          The court finds that the ends of justice

served by granting a continuance outweigh the best interest of the

public    and    the   defendants    in   a    speedy   trial, 18       U.S.C.   §

3161(h)(7)(B)(iv), for the reasons set forth in the motion.

      SO ORDERED.



                                              /s/ Joseph A. DiClerico, Jr.
                                              Joseph A . DiClerico, J r .
                                              United States District Judge

Date:    October 2 6 , 2009

cc:   Jeffrey Levin, Esq.
      Richard Hubbard, Esq.
      Mark Zuckerman, Esq.
      U.S. Marshal
      U.S. Probation
